     Case 4:15-cv-02404 Document 125 Filed on 05/18/16 in TXSD Page 1 of 2
                                                                                          United States District Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                    May 18, 2016
                                                                                            David J. Bradley, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                                §
IN RE PLAINS ALL AMERICAN PIPELINE, L.P.                                §
SECURITIES LITIGATION                                           §       Lead Case
                                                                §       No. 4:15-cv-02404
                                                                §

    MEMORANDUM AND ORDER DENYING MOTION TO CONSOLIDATE AND
      SETTING ORAL ARGUMENT ON PENDING MOTIONS TO DISMISS

        The putative class members in this federal securities action are investors in Houston-based

Plains All American Pipeline, LP (“Plains”), a crude-oil pipeline operator. On May 19, 2015, Line

901—a 10.6-mile long Plains pipeline across the Santa Barbara, California coast—ruptured and

released crude oil. The plaintiffs allege that Plains made misrepresentations about the measures

taken to prevent such an occurrence before the spill and after the spill about the extent of the release.

They seek damages for the decline in the value of Plains stock. The defendants are Plains; Plains

Holdings, a limited partnership formed to own an interest in Plains’s general-partner and

incentive-distribution rights; officers and directors at the two companies; and underwriters

associated with public offerings of the shares.

        Alfred Davis moved to consolidate this putative class action with a derivative action he filed

on Plains’s behalf for breach of fiduciary duty. (Docket Entry No. 118). Davis’s case is Civil

Action No. 15-3632. Both the plaintiffs and the defendants in this case oppose consolidation.

(Docket Entry Nos. 120, 121).

        In Davis’s case, there is a pending motion to dismiss, (Docket Entry No. 16), and a pending

motion to consolidate with another derivative action, Civil Action No. 16-429, (Docket Entry No.


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     Case 4:15-cv-02404 Document 125 Filed on 05/18/16 in TXSD Page 2 of 2




15). A motion to dismiss is pending in No. 16-429 as well. (Docket Entry No. 7). Motions to

dismiss are also pending in the putative class action before this court. (Docket Entry Nos. 114, 115).

       In light of the many pending, dispositive motions, consolidation under Rule 42 is premature

at this time. See Luera v. M/V Alberta, 635 F.3d 181, 194 (5th Cir. 2011) (district court has “broad

authority to consolidate actions” under Rule 42). The motion to consolidate, (Docket Entry No.

118), is denied, subject to reurging if the actions sought to be consolidated survive the motions to

dismiss.

       The court sets oral argument on the motions to dismiss in this case, (Docket Entry Nos. 114,

115) for July 11, 2016 at 10:00 a.m. in Courtroom 11-B.

               SIGNED on May 18, 2016, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge




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